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12
   Attorneys for Plaintiffs
13 Edwards Lifesciences Corporation and
   Edwards Lifesciences LLC
14
15                                   UNITED STATES DISTRICT COURT

16                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

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18 EDWARDS LIFESCIENCES                            Case No. 4:19-cv-06593 (HSG)
   CORPORATION, a Delaware corporation;
19 EDWARDS LIFESCIENCES LLC, a                     1. EDWARDS’ REQUEST FOR
   Delaware limited liability company,             JUDICIAL NOTICE IN SUPPORT OF
20                                                 OPPOSITION TO MERIL’S MOTION
                       Plaintiffs,                 FOR JUDGMENT ON PLEADINGS
21                                                 PURSUANT TO FRCP 12(C)
              v.
22                                                 2. DECLARATION OF GAZAL J. POUR-
   MERIL LIFE SCIENCES PVT. LTD., an               MOEZZI IN SUPPORT THEREOF
23 India private limited company; MERIL, INC.,
   a Delaware corporation,                         [Filed Concurrently with Opposition and
24                                                 Declaration of Carlo F. Van den Bosch]
                       Defendants.
25                                                 Judge: Hon. Haywood S. Gilliam, Jr
                                                   Date:   January 7, 2021
26                                                 Time:   2:00 p.m.
                                                   Crtrm.: 2
27                                                 Complaint filed: October 14, 2019

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     SMRH:4837-2123-5924.2                             EDWARDS’ REQUEST FOR JUDICIAL NOTICE
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 1            Plaintiffs Edwards Lifesciences Corporation and Edwards Lifesciences LLC (collectively,

 2 “Edwards”), by counsel, requests the Court to take judicial notice of the following documents,
 3 submitted in support of Edwards’ Opposition to Meril’s Motion for Judgement on Pleadings
 4 Pursuant to FRCP 12(c) contemporaneously filed herewith. Each document referenced below is
 5 authenticated by the Declaration of Gazal Pour-Moezzi (“Pour-Moezzi Decl.”) attached hereto.
 6
 7             EXHIBIT A            Trademark Application, Application No. 3586576 filed by Meril

 8                                  Life Sciences Private Limited for the mark “PARTNER” and

 9                                  publicly filed with India’s Office of the Controller General of

10                                  Patents, Designs & Trade Marks. (Pour-Moezzi Decl. ¶ 2, Ex. A.)

11             EXHIBIT B            Website excerpt published by Meril and referenced in the First
12                                  Amended Complaint (Dkt. 51) ¶ 45 (http://www.myval.com/about-
13                                  meril). (Pour-Moezzi Decl. ¶ 3, Ex. B.)
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              Pursuant to Rule 201(d) of the Federal Rules of Evidence (“Fed. R. Evid.”), a court may
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     take judicial notice of adjudicative facts if requested by a party and supplied with the necessary
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     information. “A judicially noticed fact must be one not subject to reasonable dispute in that it is
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     either: (1) generally known within the territorial jurisdiction of the trial court; or (2) capable of
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     accurate and ready determination by resort to sources whose accuracy cannot reasonably be
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     questioned.” Fed. R. Evid. 201(b). Additionally, on a Rule 12(c) motion, a court may consider
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     “documents referenced extensively in the complaint [and] documents that form the basis of
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     plaintiff’s claims[.]” O’Connor v. Uber Techs., Inc., 58 F. Supp. 3d 989, 995 (N.D. Cal. 2014).
24
              Courts have taken judicial notice under Fed. R. Evid. 201(b) of documents and information
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     that are part of publicly available government records, including foreign trademark filings. See,
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     e.g., GeoVector Corp. v. Samsung Elecs. Co., 234 F. Supp. 3d 1009, 1016 n.2 (N.D. Cal. 2017)
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     (taking judicial notice of Korean patent application); SunEarth, Inc. v. Sun Earth Solar Power Co.,
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 1 Ltd., No. C 11-4991 CW, 2013 WL 4528539, at *7 n.7 (N.D. Cal. Aug. 23, 2013) (taking judicial
 2 notice of Chinese trademark records); Lamont v. Time Warner, Inc., No. 12-cv-8030, 2012 WL
 3 5248061, at *2 n.2 (C.D. Cal. Oct. 19, 2012) (granting request for judicial notice of an extract
 4 from the Register of European Patents and an International Patent Application because “they are
 5 all publicly available court and government records”); Khoja v. Orexigen Therapeutics, Inc., 899
 6 F.3d 988, 1001-02 (9th Cir. 2018) (district court did not abuse its discretion by judicially noticing
 7 filing date of WIPO Application).
 8            Courts also routinely take judicial notice of publicly available websites, such as Meril’s

 9 website dedicated to Myval. Daniels-Hall v. Nat'l Ed. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010)
10 (taking judicial notice of list of vendors on school district websites); Threshold Enters. Ltd. v.
11 Pressed Juicery, Inc., 445 F. Supp. 3d 139, 146 (N.D. Cal. 2020) (“websites and their contents”
12 may be judicially noticed); County of Santa Clara v. Astra USA, Inc., 401 F.Supp.2d 1022, 1024
13 (N.D.Cal.2005) (taking judicial notice of information posted on a Department of Health and
14 Human Services web site)). Additionally, the court may judicially notice this website because
15 Edwards references it in its complaint, and Edwards’ claims for false advertising and unfair
16 competition are based on it. Meril requested judicial notice of this very webpage, but failed to file
17 it as an exhibit to its RJN, hence Edwards is providing it for the Court’s review. (See Doc. No.
18 108.)
19            Thus, the above-listed materials, consisting of (1) publicly available government records

20 and (2) information published by Meril and available on its public website, are properly subject to
21 judicial notice under Fed. R. Evid. 201(b) and the judicially created incorporation-by-reference
22 doctrine.
23            For the foregoing reasons, Edwards respectfully requests that the Court take judicial notice

24 of Exhibits A and B attached hereto.
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 1 Dated: December 17, 2020
 2                               Respectfully submitted,
 3                               SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 4
 5                               By                 /s/ Carlo F. Van den Bosch
 6                                                 CARLO F. VAN DEN BOSCH
                                                     GAZAL POUR-MOEZZI
 7
                                                   Attorneys for Plaintiffs
 8                                       EDWARDS LIFESCIENCES CORPORATION, and
                                              EDWARDS LIFESCIENCES LLC
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 1                            DECLARATION OF GAZAL J. POUR-MOEZZI

 2            I, Gazal J. Pour-Moezzi, declare the following:

 3            1.       I am associate with the law firm of Sheppard, Mullin, Richter & Hampton LLP,

 4 attorneys of record for plaintiffs Edwards Lifesciences Corporation and Edwards Lifesciences
 5 LLC (collectively, “Edwards”) in this action. I have personal knowledge of the facts stated herein
 6 and, if called as a witness, could and would testify competently thereto.
 7            2.       Attached hereto as Exhibit A is a true and correct copy of the publicly filed

 8 trademark application, filed with India’s Office of the Controller General of Patents, Designs &
 9 Trade Marks, Application No. 3586576 for the mark “PARTNER” filed by Meril Life Sciences
10 Private Limited. I retrieved this trademark application on December 3, 2020.
11            3.       Attached hereto as Exhibit B is a true and correct copy of an excerpt from the

12 Myval public website (located at https://www.myval.com/about-meril) that I retrieved on
13 December 9, 2020.
14            I declare under penalty of perjury under the laws of the United States of America that the

15 foregoing is true and correct.
16            Executed on December 17, 2020 in Costa Mesa, California.

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                                                                  GAZAL POUR-MOEZZI
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                                                        -5-                  Case No. 4:19-cv-06593 (HSG)
     SMRH:4837-2123-5924.2                                      EDWARDS’ REQUEST FOR JUDICIAL NOTICE
